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UNITED STATES DISTRICT COURT 1S 3 JF oc.)
MIDDLE DISTRICT OF FLORIDA . __ - “ut D9

TAMPA DIVISION ~ an

PEAK ENTERPRISES, INC., .
Civil Action No.: 8/0Q-C.V-I59%- T-AGTe”

Defendant.

)
1000 South Tamiami Trail )
Suite 202 )
Sarasota, FL 34236 ) Judge:
)
Plaintiff, )
) COMPLAINT FOR
v. ) PATENT INFRINGEMENT AND
) DEMAND FOR JURY TRIAL
U.S. DENTEK CORPORATION )
307 Excellence Way ) INJUNCTIVE RELIEF
Maryville, TN 37801 ) REQUESTED
)
)
)

 

Plaintiff, Peak Enterprises, Inc. (“Peak Enterprises”), by and through its
attorneys, for its Complaint against Defendant, U.S. Dentek Corporation (“U:S.
Dentek”), hereby demands a jury trial and alleges as follows:

PARTIES

1. Peak Enterprises is a corporation organized under the laws of the State
of Florida, with its principal place of business at 1000 South Tamiami Trail,
Suite 202, Sarasota, FL 34236.

2. On information and belief, U.S. Dentek is a corporation organized
under the laws of the State of Tennessee, with its principal place of business at

307 Excellence Way, Maryville, TN 37801.

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JURISDICTION AND VENUE
3. This Court has subject matter jurisdiction over this action under 28
U.S.C. §§ 1331 and 1338(a), in that this is an action for patent infringement
arising under the United States Patent Laws at Title 35, United States Code.
4. Venue is proper in this Court under 28 U.S.C. § 1391(c) and 1400(b), in
that Defendant is subject to personal jurisdiction in this district and therefore

resides in this district.

CLAIM FOR RELIEF

5. On April 9, 2002, United States Patent Number RE37,625 (“the 625
patent”) was issued to Steven M. Wieder and Thomas A. Oechslin for an
invention entitled TONGUE HYGIENE DEVICE. Peak Enterprises is the sole
owner of the entire right, title, and interest in the ‘625 patent by virtue of
assignment. A copy of the ‘625 patent is attached hereto as Exhibit A.

6. Plaintiff notified Defendant of the issuance of the ‘625 patent by letter
dated April 26, 2002.

7. Defendant is willfully and deliberately infringing the '625 patent by
importing, manufacturing, using, offering for sale, and/or selling tongue hygiene
devices. Defendant’s products are being imported, used, sold and/or offered for
sale, without permission or license from Peak Enterprises, and Defendant will

continue such infringement unless enjoined by this Court. Defendant’s product
 

 

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falls within the scope of at least one claim of the '625 patent, constituting acts of
infringement of the '625 patent. The importation into, use, offering for sale,
and/or sales of such products in the United States are direct infringements of the

'625 Patent.

CLAIM FOR RELIEF

WHEREFORE, Peak Enterprises respectfully requests that the Court:

A. Preliminarily and permanently enjoin Defendant, its agents,
servants, and employees, and all those in privity with Defendant from engaging
in acts of infringement of the '625 patent;

B. Award Peak Enterprises damages together with interest and costs
to compensate for the infringement by Defendants of the '625 patent in
accordance with 35 U.S.C. § 284, and that such award be increased by three
times the amount found or assessed in accordance with 35 U.S.C. § 284; and

C. Find that this case is exceptional, and award Peak Enterprises its
costs, disbursements, and attorneys fees and such further and additional relief

as is deemed appropriate by the Court in accordance with 35 U.S.C. § 285.
 

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Date: August 3° , 2002.

Respectfully submitted,

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a2) Reissued Patent

(10) Patent Number:

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Wicder ct al. (45) Date of Reissued Patent: Apr. 9, 2002
(34) TONGUE HYGIENE DEVICE DE 325419 = * 10/1927
DE 451111 * ‘10/1927
(75) Inventors Steven M. Wieder; Thomas A. FR AB1G7B #51943 oer eeeeees ES/I67.1
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GB 19886 * of 1905
cence ; : GB 141640 * 471920
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(US) IT 325419 * 6/1936
(21) Appl. No.: 09/314, L8L OTHER PUBLICATIONS
(22) Filed May 18, 1999

Related U.S. Patent Documents

Reissue of.

(64)

(51)
(52)
(58)

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Patent No..

Issued:

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Viled:

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Field of Searuh 20.0...

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S.013.202

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Jan. 13, 1997

 

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15/160; 15/143.1; 15/167.1
serene LS/E43.1, 160,
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(57) ABSTRACT

A tongue hygiene device to be used with a mildly abrasive
cleanser, the tongue hygiene device having a generally
clongate handle section and a generally disk-shaped cleans-
ing section. The handle section is ergonomically designed to
allow the user to effectively and comfortably hold the tonguc
hygiene device in proper cleansing alignment with thc
longue. The cleansing section includes three generally
parallel, circular patterns of medium-length bristles of
medium stiffness, protruding from a generally disk-shaped
cleansing head, the cleansing head having a top face, and a
bottom face from which the bristles protrude, and a large
aperture extending between the centers of the botiom and
top faces which is surrounded by the bristles on the bottom
face. The bristles allow the tongue hygiene device to cleanse
the tongue by brushing bacteria and [ood buildup from the
tongue using a mildly abrasive cleanser. The aperture atlows
air and the lather formed by brushing with a cleanser to pass
through the head element, thereby increasing the lather and
facilitating the passage of bacteria and food buildup away
from the sucface of the tonguc, and provides a conduit for the
passage of air and water through the bead element during
cleaning of the tongue hygiene device, expediting and
simplifying cleaning of the tongue hygiene device and
hastening drying of the bristles.

13 Claims, 2 Drawing Sheets

 
 

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‘TONGUE HYGIENE DEVICE

Matter enclosed in heavy brackets [ ] appears tn the
original patent but forms no part of this reissue spectfi-
cation; matter printed in italics indicates the additions
made by reissue.

Ih. prescnt invention relates to a tongue hygiene device.
More parheularly, the present invention relates to a tonguc
brush which allows for coavenient and effective hygienic
cleansing of a user's toague, thereby facilitating the elimi-
nuuon of bacteria and food buildup from the tonguc.

BACKGROUND OF ‘THE INVENTION

Oral hygiene has long been a concern in our society.
Gunetally, individuals who have desired to improve their
oral bygicne have done so by caring for their teeth, espe-
cially by brushing and flossing their teeth. Recently,
however, research has revealed that the predomiaant source
ol bad breath is bacteria and food buildup on the dorsum (ar
tap) of the tongue. Therefore, individuals who desire to
prevent bad breath, and thercby improve their overall oral
bygiene, should cleanse their tongues as well.

The longue, however, being an irregularly-shaped mobile
Mass ot strated muscle covered by mucous membrane, is
Hol an easy surfuce to cleanse. While the tongue’s muscular
Nature allows ils shape to be altered quickly and extensively
in pritormiag its functions, that same muscular vature aod
rapid and eatensive alteration of shape prevents convenient
cleansing. Furthermore, the tongue has a aumber of large
and small furrows, grooves, folds, and protrusions along its
dorsum and margins (or sides), as well as microscopic
proyschons and cavities formed by papillae and lymph
follicles oa the surface of the dorsum. As a result, the
longue ’s surface is uneven both macroscopically and micro-
scopically. That lack of evenness makes cleansing of the
longus even tnore difficult.

Aoaumber of means of cleansing the tongue are known in
the prior art. AL of these means utilize one of two methods:
brishing or scraping (or both). Means for cleansing the
tongue known in the prior art include conventional
toothbrushes, tongue scrapers, combination scraper-brushes,
and complex brush devices. Each of those means known in
the pnor art, however, has significant deficiencies, either in
cleansing or other defects.

Brusning is most commonly done using a mildly abrasive
cleansing medium, such as toothpaste. Brushing helps
remove bacteria aad food buildup in two ways. First, bristles
individually dislodge and extract materials from the surface
being brushed by exerting a vertical and lateral pressure on
those materials. Second, once materials are extracted from
the surtuce being brushed, they are transported away from
the surface being brushed by the cleansing medium, which
is ttscl! latheredl and communicated by the collective agita-
uion of bristles. In order to form lather, the dips of bristics
oust tlex suflicicntly to cause local agitation of the cleansing
material. {he ups of bristles must also flex to assist in the
conmmunication al the latheced cleansing medium away from
the suctace being brushed, most often by allowing for
toaminy. However, the tips of bristles must also be some-
what firm in order to exert sufficient vertical and lateral
oressure to dislodge bacteria and food lodged in the surface
being brushed. Examples of brushing devices in the prior art
are conventional toothbrushes and complex brush devices.

Scraping, in contrast, is most commonly done without the
ad of a cleansing medium. By exerting only a lateral
pressure on the surface of the tongue, the scraping element

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is designed to merely dislodge and extract bacteria and food
buildup from the uniform surface features of the dorsum of
the tongue; generally the only vertical pressure excrted is
due to the weight of the scraping element itself. Once those
matcrials arc extracted from the scraped surface, they are
transported away from the scraped surface on the face of the
scraping element. However, scraping devices are only mini-
mally effective at dislodging and removing bacteria and food
buildup from only the uniform surface features of the
dorsum. Moreover, due to their simple designs, scraping
devices are not at all effective at dislodging and removing
bacteria and food buildup from the uncven features of the
dorsum, especially the microscopic fcaturcs. Examples of
scraping devices in the prior art are scrapers and combina-
tion scraper-brushes.

Coaventional toothbrushes, while being perhaps the most
common devices used to cleanse the tongue, suffer some of
the most significant deficiencies in both cleansing and
usc-related aspects. Conventional toothbrushes are specifi-
cally constructed to cleanse the tecth, not the tongue, effcc-
tively. As a result, individual toothbrush bristles must be
long enough to get below the gingival tissue and build
sufficient lather for cleansing, yet aot be so abrasive as to
damage the teeth or surrounding gingival tissue. Longer
bristles are also typically used to minimize abrasiveness
since longer bristles tend to be more pliable when pressure
is exerted on them given the physics involved. Moreover, the
overall width of the head and bristles must be sufficiently
slender to fit into the narrow areas of the mouth between the
teeth and cheek. As a result, conventional toothbrushes have
a high profile (mcasurcd from the bottom of the bristle to the
top of the head), soft bristles, and a narrow cleansing arca.

Those same characteristics that make conventional tooth-
brushes especially effective ai cleaning the teeth make them
unsuitable for cleansing the tongue. First, conventional
toothbrushes tend to have a high profile due to their long,
soft bristles. ‘The length of such bristles allows a toothbrush
to reach into the crevices between and around tecth and
provides a safc margin between the tips of the bristles and
the hard base of the toothbrush, but also makes the tooth-
brush difficult to fit into the rear portion of the mouth. That
is significant in that such a brush cannot be used easily to
cleanse the tongue without causing a “gag refiex” to occur.
Second, although ihe softness of the bristles of conventional
toothbrushes prevents damage to (tbe teeth and gingival
lissue, such softness also makes it difficult to exert sufficient
downward pressure on the tongue with the bristles so as lo
dislodge bacteria and food buildup from the tongue and its
numerous crevices and contours effectively. Third, while the
generally slender configuration of the cleansing head on
conventional toothbrushes allows them to fit into the narrow
spaces between lips and tecth and the tongue and iccth, it
prevents such devices from covering a sufficient surface area
quickly, as is required to provide efficient cleaning over the
wide surface arca presented by the tongue. Accordingly,
conventional toothbrushes are unsuitable for cleansing the
tonguc.

Also known in the prior art arc a few devices specifically
directed toward cleansing the tonguc. Most of these devices
are directed toward scraping the tongue, cither with a
specific scraper or very short bristles. Like conventional
toothbrushes, however, these devices suffer significant defi-
ciencies in both cleansing and other defects. First, as dis-
cussed above, devices that employ scrapers or very short
bristles to scrape the tongue cannot cleanse the oumerous
contours of the tongue effectively because they cannot
penetrate into the furrows, grooves, folds, and cavilies of the
 

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tongue, especially the microscopic features. Nor caa such
devices accommadate cleansing of the protrusions or pro-
jections tram the surface af the tongue while maintaining
contact with surface of the tongue. Sceoad, such devices arc
not conducive to use with a cleansing medium because they
cither lack substantial, Nexible bristles which will build
lather, or provide only minimal space between the tongue
and the solid portion of the head of the device, thereby
preventing the scrubbing action necessary to build lather for
cleansing the tongue. Because of the lack of lather, bacteria
and food buildup in the uneven features of the tongue are not
lansported away trom the surface of the toague by a scraper
device of one wilh very short bristles.

Combination seraper-brushes tend to suffer the same
problems as scrapers, as well as several additional problems.
Larst, for the scraper and bristles both to be effective, both
must be relatively short (otherwise the device will have too
high 4 profile and, like conventional toothbrushes, will clicit
4 strong “gag reflex”). Because the scraper must be short,
Inucous and food tend to accumulate between the scraper
blade and the head of the device, decreasing the effective-
ness of the scraper and making it difficult to clean. Because
the brstics must be short, they are abrasive, uncomfortable
and potentially injurious to the user, do not flex or agitate
chough ta develop Jather effectively, and tend to “gum up”
with mucous, food, and dried cleaning media. As a result,
combinavion scraper-brushes tend to be less effective in use
than cither scrapers or brushes and also tend to be more
difficult to clean.

Complex brush devices are also known in the prior art.
Such devices generally use motors or complex mechanical
systems to agitate the bristles of the brush. They arc,
accordingly, expensive, more prone to break, and more
difficult tv contcal than simpler brushes.

It is, therefore, an object of the present invention to
provide a longue hygiene device which can cleanse the
dorsuin of the tongue, including macroscopic and micro-
nonpic features, effectively. It is also an object of the present
invention to provide such a tongue hygiene device that can
brush the surlace of the tongue, form lather from a cleansing
inedium, and assist in the communication of the lathered
cleansing medium away from the surface being brushed
through foaming, yet pot abrade the surface of the tongue. It
is a further object of the present invention to provide a
longue hygiene device that can be used and cleaned casily
and can be produced relatively inexpensively.

SUMMARY OF THE INVENTION

These objects and others are achieved according to the
piescat inventian by a toague hygiene device which allows
the tongue to be brushed, generally with a mildly abrasive
cleanser [he tongue hygiene device includes a generally
clongale handle section and a generally disk-shaped cleans-

ing section The handle section is ergonomically designed to 5

allow the user to hold the tongue bygiene device comfort-
ablv ia proper cleansing alignment with the tongue. The
cicensing, section includes three gencrally parallel] circular
patterns of medium-lkength bristles of medium stiffness,
protruding from a generally disk-shaped bead element which
has a top face, a bottom face from which the bristles
protrude, and a large aperture extending between the centers
of the bottom and top faces which is surrounded by the
bristles on the bottom face. The bristles allow the tongue
hygiene device to be used to cleanse the tongue by brushing
bacteria aud tood buildup trom the tongue, generally with a
mildly abrasive cleanser. The aperture allows air and the

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lather formed by brushing with a cleanser to pass through the
head element, thereby increasing the latber and facilitating
the passage of bacteria and food buildup away from the
surface of the tongue. The apcrturc also provides a conduil
for the passage of air and watcr through the head clement
during cleaning of the tongue hygiene device, expediting
and simplifying cleaning of the tongue hygiene device and
hastening drying of the bristles. Due to the absence of
bristles where the aperture is located, the circular pattern of
bristles surrounding the aperture are able to flex inward
without meeting any resistance from other bristles, allowiag,
more intense scrubbing of the deeper furrows, folds grooves
and cavities near the center of the dorsum. As a result, the
unique circular pattern of bristles surrounding the aperture
provides the optimal design for cleansing both the margins
and deep inner features of the dorsum of the tongue.
Further object, features, and advantages of the invention
will become evident from a considcration of the following
detailed description when taken in conjunction with the
accompanying drawings and appended claims.

BRIEF DESCRIPTION OF ‘THE DRAWINGS

‘Fo facilitate an understanding of the invention, a preferred
embodiment thereof is illustrated in the accompanying
drawings, from an inspection of which, when considered in
connection with the following description, its construction,
its operation, and many of its advantages should be readily
understood and appreciated.

FIG. 1 is a perspective view of a tongue hygiene device
of the present invention.

FIG. 2 is a side plane view of the present invention.

L'IG. 3 is a bottom plane view of the present invention.

FIG. 4 is a detailed side cross-sectional view of a portion
of the present invention.

FIG. $ is a detailed front cross-sectional view of a portion
of the present invention.

DETAILED DESCRIPTION OF THE
PREFERRED EMBODIMENT

FIGS. 1 through § illustrate a tongue hygiene device as
described [an] and claimed in this application. As shown in
FIGS. 1, 2, and 3, the tongue hygiene device 10 comprises
two portions: a gencrally elongate handle portion Ll and a
wenerally disk-shaped cleansing head portion 17. Also as
shown in FIGS. 1, 2, and 3, the cleansing head 17 is disposed
at one end of the handle portion 11.

As shown in FIG. 2, the generally elongate handle portion
11 of the tongue hygiene device 10 is ergonomically struc-
tured to be conveniently and effectively gripped by a user.
Specifically, in a preferred embodiment of the tongue
hygiene device, the handle portion 11 features five separate
finger notches 12, 13, 14, 15 and 16 to fit the fingers and
thumb of the user comfortably and to prevent slippage.
Unlike conventional toothbrushes, whicb may include finger
notches designed to be used to hold the toothbrush with the
cleansing bead angled sidewards (towards the gingival tissue
between the tecth and gum), fiager notches 12, 13, 14, 15
and 16 are ergonomically designed to facilitate placement of
the user's fingers and thumb during use of the tongue
hygiene device with the bristles 22 of the cleansing head 17
angled downward. This design allows the tongue hygiene
device to be equally effective whether used by a right-
handed or left-handed user. The handle portion 11 also
features a thumb rest 16 so that the thumb can assist in
gripping the handle portion 11 firmly during use. Further, in
 

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a pretecred embodiment of the tongue hygiene device, the
handle portion Lt is formed of a generally plastic material so
as lo facilitate cost-effective manufacturing and provide for
some resilience during use. Disposed at the distal end of the
handle pornon HL is a cleansing head 17. The proximal and
distal portions of the handle meet at an angle of less than
180 degrees, ax measured on the top surface. Due iw the
ergonomic construction of the handle portion 11, an indi-
vidual holding the handle portion 11 can easily pass the
cleansing head [7 over the teeth for convenient and com-
forlable manipulation of the tongue hygiene device and
cleansing of the tongue.

As shown 10 FIGS, 2, 4 and 5, the cleansing head £7 of
ihe tongue hygiene device 10 includes a bottom face 18, a
tap face 19, and a side edge 20. The cleansing head 17 is
structured to fit comfortably and conveniently within an
individual's mouth In a preferred embodiment of the tongue
hygiene device as shown in FIGS. 1 and 3, the cleansing
head 17 has a generally disk-shaped configuration of
approximately one inch in diameter, thereby maximizing the
surface areca lo be brushed during use while facilitating
convenient and comfortable passage into a user’s mouth. As
shown in FIG. 2. the side edge 20 of the cleansing head 17
is narrow so us to diminish the height of the cleansing head
and maximize the clearance between the cleansing head and

the top surface of the interior of the mouth to avoid a gag 25

reflex dumny brushing, yet nol so narrow that the cleansing
head 17 lacks suficicnt rigidily to cleanse the tongue
adequately. Ina preferred embodiment of the tongue hygiene
device as shown in FIG. 2, the side edge 20 of the cleansing
head 17 has a thickness of approximately one-quarter inch.
Further, the side edge 20 preferably includes a rounded and
tughly polished surface which will curtail any abrasion that
might occur due to contact between the side edge 20 of the
cleansing head 17 and the interior of the mouth.

Asshown in FIGS. 2, 4 and 5, protruding from the bottom 3

face 18 of the cleansing head 17 are a plurality of bristles 22.
In a preferred embodiment of the tongue hygicac device as
shown in FIGS. 4 and 5, cach individual oac of these bristles
22 will be formed from a plurality of strands of nylon, or
another like material. Through such a construction, the
necds tor stillness and flexibility of the bristles 22 can be
balanced to render the bristles effective for both dislodging
bacteria and food buildup and forming lather. Furthermore,
as Shown in EG. 2, an aperture 21 is formed through the
center of the bottom face 18 of the cleansing bead 17. As
shown io HIGS. 4 and 3, the aperture 21, which is preferably
evlindrival, extends through the bottom face 18 and the top
lace 19 of the cleansing bead 17 parallel to the side edge 20.
The aperture 21 allows easy passage of air and liquid

through tbe cleansing head 17. In a preferred embodiment of 5

the tongue hygiene device as shown in FIG. 3, the aperture
has diameter of one-quarter inch. Accordingly, during usc,
ihe admissibility of fluid between the cleansing head 17 and
un indavidual’s tongue facilitates the formation of an effec-
live cleaning lather by the bristles 22. Due to the absence of
bristles 22 on the bottom face 18 at the location of the
aperture 21, the bristles 22 surrounding the aperture 21 arc
able to tlex inward, toward the center of the aperture 21,
without mecing any resistance from the other bristles 22,
allowing mare intense scrubbing of the deeper furrows,
talds, grooves and cavities near the center of the dorsum of
ihe tongue. Additionally, the cleansing head 17 and a base of
ihe bristles 22 can be effectively and conveniently cleaned as
uid freely flows through the aperture 21 in the cleansing
head 17

As shown in FIGS. 1 through §, the bristles 22 will
preferably bave a stiffness or tensile strength sufficient to

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permit dowoward pressure necessary to dislodge particles
from the tongue without complete dispersement or bending
while providing sufficient flexibility to permit an effective
scrubbing and cleansing of the tongue. In a preferred
embodiment of the tonguc hygicnc device, the bristles 22
will have a stiffmess or tensile strength approximating that of
medium stiffness bristles of a conventional toothbrush.
Further, in a preferred embodiment of the tongue hygiene
device, the bristles 22 protrude approximately one-quarter
inch from the bottom face 18 of the cleansing head 17 and,
as a result, are able to delve into the various contours and
crevices formed on the tongue in an effective and convenient
mannet. As is further shown, the cleaning head portion 17 is
at a different planar orientation than the distal portion of the
handle.

The invention has been described above in an illustrative
manner and it is to be understood that terminology which has
been used is intended to be in the nature of description rather
than of limitation. Obviously many modifications and varia-
tions of the present invention are possible in light of the
above teachings. It is therefore to be understood that within
the scope of the appended claims, the invention may be
practiced otherwise than as specifically described.

What is claimed is:

1. A tongue hygiene device for usc with a mildly abrasive
cleansing medium, comprising:

a generally elongate bandle having a top surface, a bottom
surface, and proximal and distal ends, said handle being
ergonomically designed to provide finger notches for
placement of a user’s fingers on the top surface of said
distal handle portion and wherein the bottom surface is
substantially smooth cxccpt for a single thumb notch
for placcment of a user’s thumb and;

a generally disk-shaped cleansing head portion disposed
at the proximal end of said handie portion structured to
fit within a user’s mouth, said cleansing bead portion
having a bottom face, a top face, a side edge and an
aperture located centrally therethrough to permit pas-
sage of fluid and air; and

a plurality of bristles protruding from the bottom face of
said cleansing head portion in a generally perpendicular
relation thereto.

2. A tongue hygiene device as recited in claim 1 wherein
said bristics are disposed in a generally parallel circular
pattem extending outward from said aperturc toward said
side cdge.

3. A tongue hygiene device as recited in claim 1 wherein
said bristles bave a medium stiffness.

4. A tongue hygiene device as recited in claim 1 wherein
said bristles protrude approximately one-quarter inch from
the bottom face of said cleansing head portion.

5. A tongue hygiene device as recited in claim 2 wherein
the diameter of the disk formed by said cleansing head
portion measures approximately one inch.

6. A tongue hygiene device as recited in claim 1 wherein
the height of the side edge of said cleansing bead portion
measures approximately one-quarter inch.

7. A tonguc hygiene device as recited in claim 1 wherein
the side edge of said cleansing head portion has a rounded
and highly polished surface.

8. A tongue hygiene device as recited in claim 1 wherein
cach of said bristles includes a plurality of individual
Strands.

9. A tongue hygiene device as recited in claim 1 wherein
the aperture located centrally through the bottom face and
top face of said cleansing head portion bas a diameter of
approximately one-quarter inch.
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10. A tongue hygiene device for use with a cleansing single thumb notch for placement of a user’s thumb on
medium, comprising’ the bottom surface of said handle portion;

a cleansing head portion disposed at the proximal end
of said hancle portion structured to fit within a user’s
5 mouth, said cleansing head portion having a bottom
face, a top face, and a side edge; and
a plurality of bristles protruding from the bottom face of
said cleansing head portion in a generally perpendicu-
lar relation thereto.

a ucnerally clongate handle having a top surface, a bottom
surface, and proximal and distal portions,
said distal portion having notches for placement of a
user's fingers on the top surface of said distal portion
and the bottom surface is substantially smooth
except for a notch for placement of a user’s thumb[,
said notches orienting said handle in a single position io 12. The tongue hygiene device of claim 11, wherein the
m said user's hand], . . proximal and distal portions of the handle meet at an angle
said proximal portion being curved and being attached of less than 180 degrees, as measured on the top surface.
tu said distal portion, 13. A tongue hygiene device, comprising:
a [generally disk-shaped] cleansing head portion disposed a generally elangate handle having a top surface, a
al said proximal portion structured to fit within a user's bottom surface, and proximal and distal ends, said

mouth, said cleansing head portion having a bottom Is handle being ergonomically designed to provide for
luce, a tup face, and a side edge [and an aperture placement of a user's fingers on the top surface of said
located centrally therethrough to permit passage of distal handle portion an wherein the bottom surface is
Nuid and air,) whercin the cleansing head portion is at substantially smooth except to provide for placement of
a diifcrcal planar orientation than the distal portion, and 40 a user’s thumb on the bottom surface of said handle
a plurality of bristles protruding from the bottom face of ~ portion, the proximal and distal portions of the handle
said cleansing head portion [in a generally perpendicu- mieeting at angle of less than 180 degrees, as measured
lat relation thereto], the notches facilitating placement on the top surface.;
uf the user's fingers and thumb during use with the a cleansing head portion disposed at the proximal end of
bristles angled downward. 25 said handle portion structured to fit within a user's
1. A tongue hygiene device, comprising: ° mouth, said cleansing head portion having a boitom
a general clongate handle having a top surface, a face, a top face, and a side edge; and
bottom surface. and proximal and distal ends, said a plurality of bristles protruding from the botiom face of
handle being ergonomically designed to provide finger said cleansing head portion in a generally perpendicu-
notches for placement of a user’s fingers on the top yw lar reiation thereto.

surface of said distal handle portion and wherein the
botiom surface is substantially smooth except for a + * *# * ©
